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                                                                      FILED IN UNITED STATES DISTRICT
                                                                          COURT, DISTRICT OF UTAH
Name: i: a woman, Honor Willson
Address: 750 e. 3rd st. # v21 Pomona, Ca 91766                                JUL 0 2 2018
Telephone:                                                            BYD. MARK JONES, CLERK
              626-736-8254
                                                                              DEPUTY CLERK



 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                 (/!Id
                            DIVISION


 i: a woman, Honor Willson
(Full Name)
      PLAJNTIFF                                       CIVIL RIGHTS COMPLAINT
                                                      (42 u.s.c §1983, §1985)
        vs.

 Dani Herzog
                                                        Case: 1: 18-cv-00076
 Rusty Bingham                                          Assigned To : Wells, Brooke C.
                                                        Assign. Date: 7/2/2018
                                                        Description: Willson v. Herzog et al




      DEFENDANTS


                                         A. JURISDICTION

1.     Jurisdiction is proper in this court according to:

                a.~ 42    U.S.C. §1983
                b. _ 42   u.s.c. §1985
                c. _Other (Please Specify)------


2.     NAME OF PLAINTIFF Honor Willson
                                 ------------·-----
       IS A CITIZEN OF THE STATE OF California
                                     --------------
       PRESENT MAILJNG ADDRESS:               750 E. 3rd St # V21
                                              --------------
                                                Pomona, Ca    91766
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3.   NAME OF FIRST DEFENDANT_D_an_i_H_erz_o_.g.___ _ _ _ _ _ __
     IS A CITIZEN OF      Ogden, Utah
                         ~~-~--~~~~-~~-~~~

                          (City and State)

     IS EMPLOYED AS DCFS worker                         at DCFS
          (Position and Title if Any)        (Organization)
                                                                 -----
           Was the defendant acting under the authority or color of state law at the time these
           claims occurred?

     YES JL NO_. If your answer is "YES" briefly explain.

      She responded to a call to pick up two children due to the mother being placed under

     arrest. The children were from other states and there were no relatives to take them at

     that time.


4.   NAME OF SECOND DEFENDANT Rusty Bingham
                             ~--~----~~~~~-~-
     (If applicable)

     IS A CITIZEN OF Riverdale, Utah
                    -~-----~~~-~-------~--~-
                     (City and State)

     IS EMPLOYED AS Police officer                      at Riverdale police. Dept.
            (Position and Title if Any)       (Organization)
           Was the defendant acting under the authority or color of state law at the time these
           claims occurred?

     YES L_ NO_. If your answer is "YES" briefly explain.

      was responding to a claim of domestic violence by a man in custody by H~ Patrol l:!nd

     he told the officer his wife had assaulted him eirler in the morning. He called the home and

      was told that they would be willing to talk about the incident.


5.   NAME OF THIRD DEFENDANT
                                           ~--~--~--~---~---
     (If applicable)

     IS A CITIZEN OF_ _ _ _ _ _ _ _ _ _ _ _ _ __
                          (City and State)
     IS EMPLOYED AS _ _ _ _ _ _ _ _ _ _ at _ _ _ __
             (Position and Title if Any)            (Organization)
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               Was the defendant acting under the authority or color of state law at the time these
               claims occurred?

       YES 1S._ NO_. If your answer is "YES" briefly explain.




6.     NAME OF FOURTH DEFENDANT                  ~~~~-~~~~~-~-

        (If applicable)


                            (city and State)

       IS EMPLOYED AS                                     at
              (Position and Title if Any)        (Organization)
                                                                 ------
             Was the defendant acting under the authority or color of state law at the time these
             claims occurred?

       YES_ NO_. If your answer is "YES" briefly explain.




(Use additional sheets of paper if necessary.)

                                     B. NATURE OF CASE

1.     Why are you bringing this case to court? Please explain the circumstances that led to the
       problem.
         Both respondents during the the initial encounter were made aware of certain facts and claims

        and was all taped by the officers body cam, Entered a pettion to the court stating that the children

        lived in weber county with RM there mother and stepfather. The facts are was that RM had left her

        husband and had not been living in utah since aug.2016 and incident hapened on Jan. 2017
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                                  C. CAUSE OF ACTION

1.   I allege that my constitutional rights, privileges or immunities have been violated and that
     the following facts form the basis for my allegations: (Ifnecessary you may attach additional
     pages)

     a.     (1)     Count I: trespass by enterering a forged instrument into the court


            (2)     Supporting Facts: (Describe exactly what each defendant did or did not do.
                    State the facts clearly in your own words without citing legal authority or
                    arguments.)
                      i: a woman having first hand knowled9e to the fact that my daughter and grand-

                     children at the time of the incident did not live in Utah and that she was there to

                    Pick up personal stuff at the place of arrest. One of the children lived in las vegas

                     and the other in california, allthough both children had been in nevada with the father

                    of my grandson were she had spent the summer as well as just prior to there travel

                    to Utah with there mother and were to return with in the week.




     b.     (1)     Count II: The right of a child and its mother to live with out outside interference
                     from outside interference.


            (2)     Supporting Facts:     The father of my grandson came to pick up his son and after
             taking oath stated that the children had been with him until my daughter picked them up

             for the trip to Utah. I also informed the respondents and there employers of this fact but

             both agencys stated they did not have to investigate out of the state. Both respondents had

             the duty to investigate all claims and to find out were the children were from before filling a

             order and felony abuse charges on my daughter with not actual knowledge of thruth.

     c.     (1)     Count III:    Domestic violence was an issue and the duty of both agencys was to
             find out the nature of the claims and give full discovery as to any facts that could help the defenden

             and her right to due process.
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            (2)     Supporting Facts:     As seen in the body cam video they were made aware of the

             facts of the living place of the children as well as my daughter explaining she was leaving

             her husband and that she moved there by herself and did not have any one to pick up

             children they were to return home friday. The pettion that was entered into the court was

            that the children live in weber county where they are abused by my daughter becal!se she

             cares for them while high on marijuana, she tested positive but in the state of california it

            is not a crime.

                                          D.INJURY

1.   How have you been injured by the actions of the defendant(s)?

             My daughter was ordered to remain in utah to be reunited with her daughter who they

             refused to give up jursdiction of. My grandson was allowed to go home to his father

             I presented gaurdianship papers but the judge denied them and placed her 3 yrs old

             with strangers . The judge then denied me to enter the case and the true facts of the

            case were never disclosed . My daughter was orderes to remain in utah homeless

             and before her second hearing injured her arm and anded up in ICU was then released
            needing medical care. and not able to comply or compleate required orders.

            E. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

1.   Have you filed other lawsuits in state or federal comt that deal with the same facts that are
     involved in this action or otherwise relate to the conditions of your imprisonment?
     YES_/ NO .lL_. If your answer is "YES," describe each lawsuit. (If there is more
     than one lawsuit, describe additional lawsuits on additional separate pages, using the same
     outline.)

     a.             Parties to previous lawsuit:

                    Plaintiff(s): - - - - - - - - - - - - - - - - - - ·

                    Defendant(s):

     b.     Name of court and case or docket number:
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     c.         Disposition (for example: Was the case dismissed? Was it appealed? Is it still
                pending?)        My daughters parental rights were terminated on april 24th of 2018 .
                                  appeal is just being drawn. criminal case was pea bargained due to duress
     d.         Issues raised:   My daughter filed a claim in district court for a court of record and after 5

                months the judge denied jury trial even though both respondence defaulted and did not


                 answer the claim.


     e.         When did you file the lawsuit?
                                                         Date       Month     Year


     f.         When was it (will it be) d e c i d e d ? - - - - - - - - - - - - - -

2.   Have you previously sought informal or formal relief from the appropriate administrative
     officials regarding the acts complained of in Pait C? YES~ I NO _ . If your answer
     is "YES'; briefly describe how relief was sought and the results. If your answer is 11NOu
     explain why administrative relief was not sought.


      I have contacted all the appropriate pa11ys and tried to settle this with out a lawsuite but was

     denied.         My daughter also wrote the court and resinded any contract they may have have and

     asked that she have trial by jury ....... she requested from the begining to release her attorney but

      was denied . A trial was not granted nor was she allowed to have representation of her choice

     and was left with council that did not defend her rights or do any thing to help in her defence.


                                     F. REQUEST FOR RELIEF

1.   I believe that I am entitled to the following relief:

          A trial by Jury as defined in attachment called , court of record

     That the jury decide what the damages are for harming an entire family as well as the injury my

     daughter sustained due to the false complaint and the orders that came from it to stay homeless

     in utah with no regard for her health or the injury that the children suffer due to there lack of there

     required dutys to at all times keep there oaths of office and by violating there right to be with there
     mother , For the money I have lost due to travel lawyers shelter for my daughter and the loss of
      my grandaughter that I love dearly . The thought of never seeing her again and to think she thinks
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                         DECLARATION UNDER PENALTY OF PERJURY

        The undersigned declares under penalty of perjury that he/she is the plaintiff in the above
action, that he/she has read the above complaint, and that the information contained therein is true
and correct. 28 U.S.C. §1746; 18 U.S.C §1621.


Executed at   ~h?an Q-p Ql             on     G~J.J         20~
              (Location) . . . . .__        (Date)
